JS 44C/SDNY Case 1:18-cv-06937-SLC Ownucevetr ste 08/01/18 Page 1 of 2
REV. 06/01/17

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS

AVAN O' CONNER, RAMIN PENA, JONATHAN CEPADA, individually and AGILANT SOLUTIONS, INC D/B/A ASI

on behalf of all others similarly situated SYSTEM INTEGRATION, INC. and TECHNICAL STAFFING
PROFESSIONALS, LLC

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (IF KNOWN)

The Law Office of Christopher Q. Davis
225 Broadway, Suite 1803, New York, New York 10007
646-430-7930 (main)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

29 U.S.C. §§ 201 et seq. - Fair Labor Standars Act -- Claim for Unpaid Overtime Wages

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No VWYesl]

 

 

If yes, was this case Vol.[_] Invol. ["] Dismissed. No [-] Yes [] Ifyes, give date & Case No.
IS THIS AN INTERNATIONAL ARBITRATION CASE? No Yes [ |
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[ 1367 HEAL THCARE/
[]110 INSURANCE [ 1310 AIRPLANE PHARMACEUTICAL PERSONAL | 1 995 DRUG RELATED [ ]422 APPEAL [ 1875 FALSE CLAIMS
[ ]120 MARINE [1315 AIRPLANE PRODUCT —INJURY/PRODUCT LIABILITY“ geizypr of PROPERTY 28 USC 158 [ 1376 QUI TAM
[ ]130 MILLER ACT LIABILITY [ ]365 PERSONAL INJURY 21 USC 881 [ 1423 WITHDRAWAL [ ]400 STATE
[ 1140 NEGOTIABLE [ 1320 ASSAULT, LIBEL & PRODUCT LIABILITY 1 1 699 OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ ]368 ASBESTOS PERSONAL [ 1410 ANTITRUST
[ 1150 RECOVERY OF [1330 FEDERAL INJURY PRODUCT [ 1430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIABILITY PROPERTY RIGHTS [ ]450 COMMERCE
ENFORCEMENT LIABILITY [ ]460 DEPORTATION
OF JUDGMENT —_[ ] 340 MARINE PERSONAL PROPERTY [ 1820 COPYRIGHTS [ 1470 RACKETEER INFLU-
[ ]151 MEDICARE ACT __[ 1345 MARINE PRODUCT [ 1830 PATENT ENCED & CORRUPT
[ 1152 RECOVERY OF LIABILITY [ ]370 OTHER FRAUD : ORGANIZATION ACT
case (7350 MOTOR VESICLE [1371 TRUTH IN LENDING [ ]835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS [ ] 355 MOTOR VEHICLE [ ]840 TRADEMARK [ 1480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY [ ]490 CABLE/SATELLITE TV
[ 1153 RECOVERY OF _—_[ 1360 OTHER PERSONAL
OVERPAYMENT INJURY [ ]880 OTHER PERSONAL LABOR [ 1861 HIA (1395¢f) [ ]850 SECURITIES/
OF VETERAN'S [ ]362 PERSONAL INJURY - PROPERTY DAMAGE [ ]862 BLACK LUNG (923) COMMODITIES/
BENEFITS MED MALPRACTICE —[ ]385 PROPERTY DAMAGE [710 FAIRLABOR [ ]863 DIWC/DIWW (405(g)) EXCHANGE
[ ] 160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT [ ]864 SSID TITLE Xvi
SUITS [ ]720 LABOR/MGMT [ ]865 RSI (405(g))
[ ] 190 OTHER PRISONER PETITIONS RELATIONS [ ]890 OTHER STATUTORY
CONTRACT [ ]463 ALIEN DETAINEE [ 1740 RAILWAY LABOR ACT ACTIONS
[ ]195 CONTRACT [ ]510 MOTIONS TO [] 751 FAMILY MEDICAL FEDERAL TAX SUITS [ 1891 AGRICULTURAL ACTS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE | eave ACT (FMLA)
LIABILITY 28 USC 2255 [ ]870 TAXES (U.S. Plaintiff or
[ ]196 FRANCHISE CIVIL RIGHTS [ ]530 HABEAS CORPUS [ ] 790 OTHER LABOR Defendant) [ 1893 ENVIRONMENTAL
[ ]535 DEATH PENALTY LITIGATION [ ]871 IRS-THIRD PARTY MATTERS
[ ]540 MANDAMUS & OTHER [ ] 791 EMPL RET INC 26 USC 7609 895 FREEDOM OF
bilea® Moe SECURITY ACT (ERISA) i INFORMATION ACT
REAL PROPERTY [ ] 896 ARBITRATION
[ ]441 VOTING IMMIGRATION
[1210 LAND [ 1442 EMPLOYMENT PRISONER GIVIL RIGHTS [ ] 889 ADMINISTRATIVE
CONDEMNATION — [ ]443 HOUSING/ [ 1462 NATURALIZATION PROCEDURE ACT/REVIEW OR
[ 1220 FORECLOSURE coe AGESINCEE IONS [ 1550 CIVIL RIGHTS APPLICATION APPEAL OF AGENCY DECISION
[ 1230 RENT LEASE & [ ]555 PRISON CONDITION _[ ] 465 OTHER IMMIGRATION
EJECTMENT DISABILITIES - [ ] 560 CIVIL DETAINEE ACTIONS eee eee OF
[ 1240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ 1245 TORT PRODUCT ~‘[ ] 446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ ]290 ALL OTHER [ ]448 EDUCATION

REAL PROPERTY

Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y,

 

 

 

 

, CHECK IF THIS IS ACLASS ACTION AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
UNDER F.R.C.P. 23 IF SO, STATE:
DEMAND $ OTHER JUDGE DOCKET NUMBER

 

Check YES only if demanded in complaint
JURY DEMAND: Kx! YEs LNo NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).

 
 

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(PLACE AN x IN ONE BOX ONLY) ORIGIN
4 Original | 2 Removed from [13 Remanded | 4 Reinstated or lias 5 Transferred from [_]6 Vee 7 ete
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Appellate
C] a. all parties represented = Court
Cc 8 Multidistrict Litigation (Direct File)
[| b. Atleast one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[]1 U.S. PLAINTIFF [_]2 U.S. DEFENDANT 3 FEDERAL QUESTION [4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE fi 0% CITIZEN OR SUBJECT OF A [13113 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 [12 INCORPORATED or PRINCIPAL PLACE []4[]4 FOREIGN NATION [16 [16

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY (IES)

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: = [_] WHITE PLAINS MANHATTAN

a a eee

DATE SIGNATURE OF ATTORNEY OF RECORD ie TO PRACTICE IN THIS DISTRICT
[x YES (DATE ADMITTED Mo. 95 ___ Yr. 2007 __)
RECEIPT # Attorney Bar Code #

Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

 

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
